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8
                            UNITED STATES DISTRICT COURT
9
                          CENTRAL DISTRICT OF CALIFORNIA
10
                         (WESTERN DIVISION – LOS ANGELES)
11
12   GRANT MCKEE, ERIC WEBER, and                Case No. 2:17-cv-01941 GW (Ex)
13   MICHAEL ROGAWSKI, individually
     and on behalf of all others similarly
14   situated,                                   PLAINTIFF ERIC WEBER’S
                                                 OPPOSITION TO AUDIBLE’S
15                Plaintiffs,                    MOTION TO STAY AS TO ERIC
16                                               WEBER
     v.
17
     AUDIBLE, INC.,
18                                               Date:           July 23, 2018
                  Defendant.                     Time:           8:30 A.M.
19
                                                 Courtroom:      9D
20                                               Judge:          George H. Wu
                                                 Trial Date:     None Set
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 1                                      INTRODUCTION
 2         Audible’s motion to stay is yet another attempt to delay the Court’s consideration
 3 of Plaintiffs’ claims for class certification and on the merits. Audible concedes it is not
 4 likely to prevail on appeal. Thus, the most likely result of staying Weber’s claims is that
 5 the Ninth Circuit would eventually affirm the Court’s ruling and the parties would then
 6 complete a second round of nationwide class discovery and argue a second motion for
 7 class certification in mid to late-2019 or even 2020. Audible is not entitled to a stay
 8 pending appeal, and no discretionary stay is warranted in these circumstances.
 9         The first factor in assessing whether a discretionary stay should issue asks whether
10 Audible’s appeal has a “strong likelihood of success.” Audible concedes that it is not
11 likely to win its appeal. This is unsurprising because Audible cited no relevant case law
12 in its motion to compel arbitration and dismiss claims as to Weber; it simply argued,
13 without any legal support, that the broad scope of Amazon’s arbitration clause should
14 make up for the fact that no arbitration agreement exists between Weber and Audible.
15         Audible tries to satisfy the first factor by meeting a “lesser threshold” (which, in
16 turn, requires it to make a greater showing on the second and third factors). It argues that,
17 even if it is not likely to prevail on appeal, its appeal still presents a “substantial case”
18 that raises “serious legal issues” and has a “fair prospect” of success. But Audible cannot
19 satisfy even this lesser threshold because: (i) the appeal does not raise any issues of first
20 impression, implicate any constitutional concerns, seek to resolve a split of authority, or
21 otherwise involve any pressing issues of widespread importance; (ii) Audible simply
22 recycles the same arguments the Court already rejected (twice), and subtly suggests that
23 the Court should reconsider its ruling based equitable estoppel and agency theories; and
24 (iii) Audible never submitted evidence in support of its motion to compel arbitration that
25 was sufficient to show that an arbitration agreement actually exists between Weber and
26 Amazon (a necessary prerequisite to its other arguments). Audible’s description of its
27 own arguments as “colorable” shows its own view on its chances on appeal and with
28 respect to this motion to stay.

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 1         As to the remaining three discretionary stay factors which assess the balance of
 2 hardships and the public interest, none of the factors tilt sharply (or even modestly) in
 3 favor of staying Weber’s claims. Audible cannot show a “probability” that it will suffer
 4 “irreparable injury” if Weber’s claims move forward with the rest of the case. It simply
 5 makes the same “cost of litigation” arguments that apply to every class action defendant
 6 that loses a motion to compel arbitration. Audible also cannot show that Weber or
 7 putative class members will not suffer any prejudice if his claims are stayed for what is
 8 likely to be between six and 18 months.
 9         Finally, Audible cannot show that the public interest favors a stay because the
10 opposite is true. Staying Weber’s claims would most likely increase the expenditure of
11 judicial time and resources in this case by causing two rounds of class discovery and class
12 certification arguments. Moreover, Weber seeks to enjoin Audible’s ongoing violations
13 of federal and state law, and delaying the Court’s consideration of these issues risks
14 unnecessary and avoidable harm to other consumers and the public.
15         Audible cannot meet its burden on any of the relevant factors. Its chances on appeal
16 are limited at best, and the most likely result of a stay would be that Audible incurs more
17 litigation costs and the Court expends more time and resources in 2019 addressing issues
18 it could have addressed collectively in 2018. Because none of the relevant factors favor
19 a stay, and several weigh decidedly against a stay, the Court should deny Audible’s
20 motion and let Weber’s claims move forward with the rest of the case.
21                                      BACKGROUND
22         Weber has been a putative class member in this case since May 2017 and he has
23 been a named plaintiff and proposed class representative since December 2017. See Dkt.
24 65 (SAC); Dkt. 115 (TAC). His claims against Audible are substantially similar to the
25 original named plaintiff and proposed class representative Grant McKee’s claims. Dkt.
26 115. The circumstances surrounding Weber’s relationship with Audible are similar to
27 McKee’s circumstances in that they both viewed similar webpages, they both lost credits,
28 they are both long-time Amazon customers, and they both stored payment methods on

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 1 their Amazon accounts. Id. It is thus unsurprising that Audible’s arguments directed at
 2 Weber and McKee have been identical in all material respects.
 3         On July 17, 2017, Audible lost its original motion to compel arbitration and
 4 dismiss claims as to McKee. See Dkt. 37 at 7-17. Amazon won its part of the motion
 5 based primarily on a webpage that disclosed the Amazon Prime Terms which, in turn,
 6 incorporated Amazon’s separate COU and arbitration clause. See Dkt. 37 at 17 n.7 & 23;
 7 Dkt. 25 at 6-10; see also Weber Case1 Dkt. 35 at 1-3 & n.1-2 (clarifying the Court’s
 8 ruling in this case as to McKee).
 9         In connection with Audible’s motion to compel McKee’s claims to arbitration, the
10 Court found that no version of Amazon’s COU and arbitration clause mentioned Audible
11 or incorporated any of Audible’s terms, policies, or disclosures, and that, under
12 Washington law, Audible could not rely on a contract to which it was not a party in order
13 to compel McKee’s claims against Audible to arbitration even if Amazon could compel
14 similar claims brought against Amazon to arbitration. See Dkt. 37 at 17. Specifically, the
15 Court ruled:
16                Defendants argue that because Amazon’s COU define
17                “Amazon” to include its affiliates, Plaintiff, in making purchases
                  on Amazon.com enters into arbitration agreements with every
18                single Amazon affiliate. This line of argument is unpersuasive.
                  First, it is a relatively basic proposition that a party can only
19                assent to a contract with notice of its essential terms, including,
                  the actual parties to the contract. See Lee v. Intelius Inc., 737 F.3d
20                1254, 1260 (9th Cir. 2013) (“Washington law requires that the
21                ‘essential elements’ of the contract be set forth in writing. An
                  essential element is identification of the parties to the contract.”)
22                Audible is not listed as a party to the Amazon COU.
23                Further, Defendants’ contention that the Amazon sign in page
24                provided Plaintiff with notice that he was making an agreement

25
26   1
    Weber filed a related case against Amazon based on Amazon’s own violations of his
27 privacy rights and its failure to disclose material terms, among other things. The related
   case is Weber v. Amazon.com, Inc., Case No. 2:17-cv-08868-GW(Ex) and is referred to
28 herein as the “Weber Case.”

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                 with Audible has other problems. For one, unless the Amazon
 1               agreement directs Plaintiff to Audible’s COU in some way, or
 2               notifies Plaintiff of the existence of Audible as an Amazon
                 affiliate it does not afford notice. The Court is unwilling to hold
 3               that a reasonable consumer signing into Amazon would believe
                 he or she is also waiving the right to sue several additional
 4               corporations. While Amazon may be able to compel Plaintiff to
 5               arbitrate his claims based on purchases he made on Amazon,
                 Audible may not.
 6 Dkt. 37 at 17.
 7       The Court also rejected Audible’s “equitable estoppel” argument, noting that the
 8 argument was “based on a misunderstanding, or perhaps a willful misstatement of Ninth
 9 Circuit law on equitable estoppel in this context.” Dkt. 37 at 22. The Court found that
10 “the Ninth Circuit has directly opposed extending equitable estoppel in the manner
11 [Audible] ask[ed] the Court to,” i.e., to let Audible “invoke the arbitration clause
12 contained in an agreement between [McKee] and co-Defendant Amazon even though
13 Audible is non-signatory to that agreement.” Id. at 22-23. Put simply, because Audible
14 did not have an agreement to arbitrate with Weber, it could not compel arbitration even
15 if its affiliate Amazon could compel arbitration of claims made against Amazon.
16         After losing the motion to compel arbitration as to McKee, Audible expressly
17 waived any right to appeal the Court’s denial of the motion and, accordingly, also waived
18 any right to seek a discretionary stay pending appeal. See Dkt. 38. Thereafter, most of
19
     McKee’s claims survived two motions to dismiss Audible brought under Federal Rule of
20 Civil Procedure 12(b), see Dkt. 53; Dkt. 87, and Audible chose not to file a third motion
21 to dismiss directed at Weber’s same claims.
22         On January 22, 2018, Audible filed another motion to compel arbitration and
23 dismiss claims, this time directed at Weber. Dkt. 73. Audible identified the wrong “Eric
24
   Weber” in its moving papers, however, and then asked the Court to consider new
25 evidence it submitted with its reply brief concerning the real Weber. Dkt. 82. In reply,
26
     Audible submitted zero evidence that Weber agreed to Audible’s own COU and
27 arbitration clause. Id.; see Dkt. 97 at 20. Instead of arguing that Weber knowingly and
28 unambiguously agreed to arbitrate claims against Audible based on Audible’s COU and

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 1 arbitration clause, Audible once again argued that Weber was required to arbitrate his
 2 claims against Audible based on Amazon’s separate COU and arbitration clause. Dkt. 82
 3 at 12-16. Audible emphasized the broad scope of Amazon’s arbitration clause but ignored
 4 the fact that no agreement to arbitrate existed between Weber and Audible. Id. Audible
 5 did not make any equitable estoppel, agency, or third-party beneficiary arguments. Id.
 6 Audible also failed to submit sufficient evidence to prove that an agreement to arbitrate
 7 actually existed between Weber and Amazon. Id.; see also Weber Case Dkt. 35 at 12-16
 8 (finding that Amazon did not meet its evidentiary burden of proof—using the exact same
 9 evidence Audible submitted in this case—but giving Amazon a chance to submit
10 additional evidence and briefing before issuing a final ruling).
11         When Audible brought its motion to compel arbitration and dismiss claims as to
12 Weber, the Court had rejected Audible’s exact same arguments just six months earlier.
13 Dkt. 37. The Court’s denial of Audible’s motion as to Weber thus came as no surprise.
14 Dkt. 97 at 20 & n.15 (“The Court already rejected this argument and does so again.”).
15 The Court noted:
16                Audible again misses the point. Weber’s present claim is against
17                Audible. Audible has not produced evidence that Weber ever
                  agreed with Audible to arbitrate disputes between Weber and
18                Audible. It may be the case that Weber has agreed to arbitrate
                  claims like the ones asserted here were he to assert them against
19                Amazon. However, that determination would only allow
                  Amazon to force Weber into arbitration; it would not allow
20                Audible to do the same.
21
     Dkt. 97 at 21 (emphasis in original).
22
           Where Audible expressly waived its right to appeal the Court’s same rulings as to
23
24 McKee, this time Audible decided to appeal the Court’s rulings as to Weber. Dkt. 114.
   Audible is now trying to invoke the Court’s discretion to stay the case as to Weber while
25
26 nationwide class discovery is ongoing and a class certification hearing is scheduled for
     December 3, 2018. See Dkt. 100.
27
28

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 1                                        ARGUMENT
 2         Audible admits it has no right to stay Weber’s claims pending its appeal of the
 3 Court’s rulings and it must invoke the Court’s discretion to issue a stay while the rest of
 4 the case moves forward. To obtain a discretionary stay pending appeal, Audible has the
 5 burden to show that the relevant factors weigh in favor of a stay. Even if the factors do
 6 favor a stay, the Court still is not required to stay Weber’s claims pending appeal.
 7         In these circumstances, Audible cannot meet its burden to show that a discretionary
 8 stay is warranted because none of the four factors favor staying Weber’s claims. The
 9 Court should deny Audible’s motion.
10 I.      Audible has the burden of proving a discretionary stay is warranted.
11         When a party appeals the denial of a motion to compel arbitration, a stay is “not a
12 matter of right, even if irreparable injury might otherwise result.” Nken v. Holder, 556
13 U.S. 418, 433 (2009). The decision to grant a stay “is instead ‘an exercise of judicial
14 discretion,’ and ‘the propriety of its issue is dependent upon the circumstances of the
15 particular case.’” Id. (internal marks omitted). “The moving party has the burden of
16 persuading the court that the circumstances of the case justify a stay.” Cesca Therapeutics
17 Inc. v. SynGen Inc., 2017 WL 1174062, at *2 (E.D. Cal. Mar. 30, 2017).
18         When deciding whether to stay a case pending appeal, courts consider “(1) whether
19 the stay applicant has made a strong showing that he is likely to succeed on the merits;
20 (2) whether the applicant will be irreparably injured absent a stay; (3) whether issuance
21 of the stay will substantially injure the other parties interested in the proceeding; and (4)
22 where the public interest lies.” Leiva-Perez v. Holder, 640 F.3d 962, 964 (9th Cir. 2011)
23 (citation omitted). The first two factors are the “most critical.” Nken, 566 U.S. at 434.
24         In weighing these factors, courts in the Ninth Circuit apply a “sliding scale” where
25 a stronger showing on one element may offset a weaker showing on another. Leiva-Perez,
26 640 F.3d at 964-66. In particular, a moving party who under the first factor cannot prove
27 a “strong likelihood of success” on the merits of the appeal must, at a minimum, show
28 the appeal presents a “substantial case” raising “serious legal issues” and that the appeal

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 1 has a fair prospect of success. See id.; see Abbassi v. INS, 143 F.3d 513, 514 (9th Cir.
 2 1998). A moving party that can only meet the lesser threshold on the first factor must
 3 then show that the balance of hardships under the second and third factors “tilts sharply”
 4 in favor of a stay. Leiva-Perez, 640 F.3d at 966; Cesca Therapeutics, 2017 WL 1174062,
 5 at *2; Morse v. Servicemaster Glob. Holdings, Inc., 2013 WL 123610, at *2 (N.D. Cal.
 6 Jan. 8, 2013).
 7         In every case, if the moving party cannot make the threshold showing that
 8 irreparable harm is probable, not merely possible, then a stay cannot issue regardless of
 9 the proof regarding the other stay factors. See Leiva-Perez, 640 F.3d at 965
10 (characterizing irreparable harm as “the bedrock requirement” of obtaining a stay).
11 II.     Audible cannot meet its burden because none of the relevant factors weighs
12         in favor of issuing a discretionary stay.
13         In these circumstances, the four-factor test does not weigh in favor of a
14 discretionary stay. Indeed, Audible cannot meet its burden to show that any of the
15 relevant factors favor staying Weber’s claims while the rest of the case moves forward
16 with nationwide class discovery toward a class certification hearing on December 3,
17 2018. Because Audible cannot meet its burden, the Court should deny the motion.
18         a.    Factor 1 (standard threshold): Audible does not even try to show that
19               its appeal has a “strong likelihood of success.”
20         The first factor considers whether Audible can show it has “a strong likelihood of
21 success” on the merits of its appeal. Leiva-Perez, 640 F.3d at 968; Cesca Therapeutics,
22 2017 WL 1174062, at *2. Even presenting an issue of first impression is not enough to
23 show that an appeal meets this high standard. See, e.g., Volkswagen Grp. of Am., Inc. v.
24 Saul Chevrolet, Inc., 2015 WL 5680317, at *4 (C.D. Cal. Sept. 25, 2015). Furthermore,
25 failing to present arguments different from those advanced in its motion to compel
26 arbitration weighs against a likelihood of success on appeal. See Cesca Therapeutics,
27 2017 WL 1174062, at *3 (“Courts have found that the lack of new substantive arguments
28 weighs against likelihood of success on the merits.”).

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 1         Audible does not even try to show that it has a strong likelihood of success on the
 2 merits of its appeal. With good reason. The Court soundly rejected Audible’s arguments
 3 once with respect to McKee and Audible chose not to appeal that ruling. See Dkt. 37;
 4 Dkt. 38. When Audible filed essentially the same motion to compel arbitration and
 5 dismiss claims against Weber, Audible did not present any new substantive arguments as
 6 a reason to compel arbitration and again sought to rely on Amazon’s separate COU and
 7 arbitration clause instead of its own. See Dkt. 73; Dkt. 82. It noted one factual
 8 dissimilarity between McKee and Weber (where McKee complained of the risk that a
 9 non-designated payment method stored on his separate Amazon account would be
10 charged by Audible without notice, Weber complained that Audible actually charged
11 without notice a non-designated payment method stored on his separate Amazon account)
12 and again emphasized the broad scope of Amazon’s arbitration clause to make up for the
13 non-existence of any agreement to arbitrate between Weber and Audible. Dkt. 82.
14         Audible’s motion to stay carefully avoids referencing the “strong likelihood of
15 success” standard, suggesting that the lesser threshold of presenting a substantial case
16 with serious legal questions and a fair prospect of success is the benchmark for securing
17 a stay. Audible also carefully avoids mentioning that meeting the lesser threshold on the
18 first factor requires it to make an even higher showing on the second and third factors.
19 Regardless, Audible cannot even satisfy the lesser threshold of the first factor.
20         b.     Factor 1 (lesser threshold): Audible cannot show its appeal is a
21                substantial case that raises serious legal questions with a fair prospect
22                of success.
23         Rather than try to satisfy the first factor by arguing it has a strong likelihood of
24 success on the merits of its appeal, Audible instead argues that it meets the lesser
25 threshold of showing that its appeal presents a “substantial case” that raises “serious legal
26 questions” with a fair prospect of success. Even aiming at this lesser threshold, Audible
27 misses the mark.
28

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 1         A “substantial case” is one that raises genuine matters of first impression within
 2 the Ninth Circuit or that implicates a constitutional question or otherwise concerns a
 3 pressing legal issue where there is an unsettled split of authority on an important legal
 4 issue. See Britton v. Co-op Banking Group, 916 F.2d 1405, 1412 (9th Cir. 1990); Pokorny
 5 v. Quixtar, Inc., 2008 WL 1787111, at *2 (N.D. Cal. Apr. 17, 2008); Morse, 2013 WL
 6 123610, at *3 (a substantial case “raises genuine matters of first impression within the
 7 Ninth Circuit” or which may “otherwise address a pressing legal issue which urges that
 8 the Ninth Circuit hear the case”); Guifu Li v. A Perfect Franchise, Inc., 2011 WL
 9 2293221, at *3 (N.D. Cal. June 8, 2011) (“For a legal question to be ‘serious,’ it must be
10 a ‘question going to the merits so serious, substantial, difficult and doubtful, as to make
11 the issues ripe for litigation and deserving of more deliberate investigation.”).
12         Audible cannot meet this lesser threshold for several reasons, let alone show that
13 the second and third factors tilt sharply in favor of a stay. See Gillette v. Uber Techs.,
14 2015 WL 4481706, at *2 (N.D. Cal. July 22, 2015) (finding the class action defendant
15 failed to satisfy its burden on the first factor and declining to address the other factors).
16         First, Audible’s appeal is not a substantial case on the merits. The law is well
17 settled that “arbitration is a matter of contract and a party cannot be required to submit to
18 arbitration any dispute which he has not agreed to submit.” AT&T Techs., Inc. v.
19 Commc’ns Workers of Am., 475 U.S. 643, 648 (1986). Audible does not dispute that
20 Weber and Audible never entered into a contract with an arbitration clause. In fact,
21 Audible submitted zero evidence that a contract between Weber and Audible exists and
22 it did not argue in its motion to compel arbitration that Weber knowingly consented to
23 the arbitration clause that Audible included in its own COU. Dkt. 72; Dkt. 83; Dkt. 97 at
24 20. Audible therefore cannot contractually require Weber to arbitrate his claims against
25 it, and arbitration is a matter of contract and consent.
26         Instead, as it did with McKee, Audible argues that the broad scope of Amazon’s
27 arbitration clause somehow makes up for the fact that no agreement to arbitrate between
28 Audible and Weber exists. After misstating Ninth Circuit law concerning the narrow

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 1 circumstances where non-signatories to an arbitration agreement may be able to compel
 2 arbitration based on principles of equitable estoppel with respect to McKee, Dkt. 37 at
 3 22-23, Audible wisely chose not to make any equitable estoppel, agency, or similar
 4 arguments in its motion against Weber. Dkt. 73 at 20-23 (citing no case law in support
 5 of its argument that Audible could compel arbitration based on Amazon’s separate
 6 arbitration clause); Dkt. 82 at 16-18 (citing several cases,2 none of which address
 7 equitable estoppel, agency, or other theories where a non-signatory to an agreement can
 8 compel arbitration). Yet, as shown below, many of the authorities it now relies on in
 9 support of a stay address equitable estoppel and agency issues that have been resolved by
10 the Ninth Circuit in ways that do not help Audible and/or that the Court expressly rejected
11 in its prior order related to McKee. Because Audible did not argue equitable estoppel or
12 agency theories in its motion to compel arbitration, such issues will not be addressed by
13 the Ninth Circuit on appeal and do not improve its prospects for success.
14         Audible’s appeal also does not raise any “serious” legal questions because none of
15 the issues on appeal are issues of first impression, implicate important constitutional
16 questions, would resolve a split of authority among the district courts, or are so difficult
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20     The decision in Chiron Corp. v. Ortho Diagnostic Sys., Inc., 207 F.3d 1126 (9th Cir.
     2000), addressed whether a broad arbitration clause contained in the parties’ contract
21   required the parties to submit a res judicata issue to the arbitrator (it did). The decision in
     In re Verisign, Inc., Derivative Litig., 531 F. Supp. 2d 1173 (N.D. Cal. 2007), addressed
22   whether a broad arbitration clause had retroactive effect (it did). See also Footnote 8,
23   infra. The decisions in Ekin v. Amazon Servs., LLC, 84 F. Supp. 3d 1172 (W.D. Wash.
     2014), and Peters v. Amazon Servs. LLC, 2 F. Supp. 3d 1165 (W.D. Wash. 2013),
24   addressed whether Amazon’s arbitration clause was unconscionable and/or retroactive.
     None of the cases cited by Audible in its motion and reply stand support the proposition
25   that a broadly worded arbitration clause lets non-signatories compel arbitration based on
26   theories of equitable estoppel, agency, parent/subsidiary, or any other legal principle
     simply because one claim against the non-signatory has some connection to the signatory
27   party. Simply put, no case says that one company’s broad arbitration clause can make up
     for another company’s failure to secure an agreement to arbitrate except in very narrow
28   circumstances not at issue here (and which Audible never argued against Weber).

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 1 or pressing that this Court should stop all proceedings related to Weber until the Ninth
 2 Circuit formally weighs in. As it already acknowledged, its appeal is “colorable” at best.
 3         Second, Audible’s motion to stay largely rehashes the same arguments it made in
 4 its two motions to compel arbitration. This weighs against Audible’s argument that it has
 5 a fair prospect of success on the merits. See Motion at 6 (noting that its arguments seeking
 6 a stay were “central” to its motion to compel arbitration and to the Court’s ruling).
 7 Audible’s motion to stay again emphasizes the idea that Amazon has a connection to
 8 Weber’s claims against Audible because (i) Audible required Weber to log into his
 9 Audible account using his Amazon password, (ii) Audible required Weber to designate a
10 payment method stored on his separate Amazon account, and (iii) Audible charged a non-
11 designated corporate credit card stored on Weber’s separate Amazon account. Id. Yet
12 McKee and all Audible consumers faced the same circumstances as Weber (except for
13 item (iii), which only affects a subset of Audible members whose designated card is
14 declined). Moreover, Audible suggests (but again provides no supporting authority) that
15 Amazon’s connection to Audible and the fact that Audible charged a non-designated
16 payment method stored on Weber’s separate Amazon account is alone sufficient to let
17 Audible rely on Amazon’s separate COU and arbitration clause. None of these points
18 make up for the fact that no agreement to arbitrate between Weber and Audible exists.3
19
20
21
   3
     The Court previously recognized that Audible is not even mentioned in Amazon’s COU
22 and that Amazon’s COU does not incorporate by reference Audible’s separate COU and
23 arbitration clause. Dkt. 37 at 17; Dkt. 97 at 20-21. This means that Amazon customers
   are not on notice that any past, present, or future claims against Audible—or against
24 Zappos, Whole Foods, CreateSpace, IMDb, or any of other Amazon’s other affiliates, all
   of which have their own websites and terms—could be covered by Amazon’s COU and
25 arbitration clause. Only Audible’s COU provides any notice that Audible’s services fall
26 within the definition of an “Amazon Service,” and Audible has conceded that Weber
   never had proper notice of Audible’s COU. Simply put, Audible is not a third-party
27 beneficiary of Amazon’s COU and arbitration clause, which appears to be what its
   argument here is suggesting without actually providing any legal authority or saying the
28 words “third-party beneficiary.”

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 1         Audible describes its own reasoning as “colorable” and suggests that “reasonable
 2 minds may differ” without explaining why. Of course, reasonable minds cannot differ as
 3 to whether a contract containing an arbitration clause exists between Weber and
 4 Audible—Audible has already conceded that point. Audible is clearly trying to push the
 5 lesser threshold of the first factor as low as possible.
 6         Third, none of the authorities Audible cites are analogous to these circumstances
 7 or show that it has even a fair prospect of success on the merits of its appeal. See Britton,
 8 916 F.2d at 1412 (finding a judgment does not moot an appeal of the denial of a motion
 9 to compel arbitration, but saying nothing about whether the court erred in denying a stay
10 pending appeal); Leyva v. Certified Growers of Cal., Ltd., 593 F.2d 857, 863-64 (9th Cir.
11 1979) (noting that a court may stay an action pending the resolution of independent
12 proceedings, such as separate judicial, administrative, or arbitral matters, as a matter of
13 controlling its own docket and calendar); Laster v. T-Mobile USA, Inc., 2008 WL
14 5377635, at *1-2 (S.D. Cal. Nov. 4, 2008) (granting a stay where the defendant had
15 “substantially revised” a class waiver provision that had previously been found
16 unenforceable and where another court had recently stayed an order addressing the same
17 revised provision pending appeal); Jones v. Deutsche Bank AG, 2007 WL 1456041, at *2
18 (N.D. Cal. May 17, 2007) (granting stay based on split of authority as to non-signatories
19 compelling arbitration based on equitable estoppel,4 where Ninth Circuit had not yet
20 addressed the issue); Amisil Holdings Ltd. v. Clarium Capital Mgmt., 622 F. Supp. 2d
21 825, 831-41 (N.D. Cal. 2007) (ordering arbitration based on an operating agreement and
22
23
24
25   4
    The Court rejected Audible’s arguments related to equitable estoppel in its original order
26 related to McKee, and Audible did not make any equitable estoppel arguments in its
   motion directed to Weber. Dkt. 37 at 22-23; Dkt. 73; Dkt. 82. In any event, the Ninth
27 Circuit has since ruled that non-signatories cannot compel arbitration except in very
   narrow circumstances not at issue here. See Dkt. 37 at 22-23 (citing cases).
28

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 1 the principles of equitable estoppel and agency,5 and granting an automatic stay based on
 2 9 U.S.C. § 3); Smith v. Massachusetts Mutual Life Ins. Co., 2010 WL 11545610, at *7-9
 3 (C.D. Cal. May 25, 2010) (ordering arbitration based on agency and equitable estoppel
 4 principles6); In re Verisign, Inc. Derivative Litig., 531 F. Supp. 2d 1173, 1224 (N.D. Cal.
 5 2007) (holding that a broadly worded arbitration clause was retroactive and required
 6 shareholders suing derivatively on behalf of the company to submit claims that predated
 7 the arbitration clause to arbitration7); Murphy v. DirecTV, Inc., 2008 WL 8608808, at *2
 8
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     5
     Audible did not make any equitable estoppel arguments or argue that Amazon and
10 Audible were acting as each other’s agents in its motion to compel Weber’s claims to
   arbitration, and the Court’s ruling did not address such arguments. See Dkt. 73; Dkt. 82;
11 Dkt. 97. Typically, “a federal appellate court does not consider an issue not passed upon
12 below.” Singleton v. Wulff, 428 U.S. 106, 120 (1976). Audible thus could not have a “fair
   prospect of success” on issues that were not addressed by the Court and which the Ninth
13 Circuit will not address on appeal, and its appeal does not raise any “serious legal issues”
   related to equitable estoppel or agency theories. These are not even “colorable” arguments
14 that the Ninth Circuit is likely to consider. In any event, as with the Deutsche Bank case
15 from 2007, the Ninth Circuit has since narrowed the potential circumstances where a non-
   signatory to a contract can compel arbitration.
16 6
     Again, Audible did not argue any agency or equitable estoppel theories in its motion to
17 compel directed at Weber. The Court also distinguished Audible’s circumstances from
   the same circumstances at issue in Smith when it denied Audible’s motion directed at
18 McKee. Dkt. 37 at 22-23 (acknowledging Mundi v. Union Security Life Ins. Co., 555 F.3d
19 1042 (9th Cir. 2009), and noting that equitable estoppel only applies in very limited
   circumstances where the plaintiff are suing the non-signatory under, and are directly
20 seeking the benefit of, the contract that contained the arbitration clause). With respect to
   agency, the issue in Smith was that the non-signatory subsidiary was acting as the parent
21 company’s agent with respect to the specific transactions at issue, an allegation Audible
   has not and cannot make with respect to Amazon (i.e., Audible cannot reasonably suggest
22 that it was acting as Amazon’s agent when it issued its own advertisements, signed
23 consumers up for Audible memberships, and charged payment methods that happened to
   be stored with Amazon). Even if Audible had made an agency argument in its motion,
24 the fact that Audible is an affiliate and subsidiary of Amazon does not make it Amazon’s
   agent. Smith is in no way analogous to Audible’s circumstances and arguments.
25
   7
26   In Verisign, the plaintiffs were suing the defendant derivatively on behalf of the
   company that had entered into engagement letters with the defendant. 531 F. Supp. 2d at
27 1223. The plaintiffs were thus bound by the agreements the company had entered into
   with the defendant, which undisputedly had contained an arbitration clause since 2005.
28 Id. Plaintiffs argued that because the basis of their claims pre-dated the 2005 arbitration

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 1 (C.D. Cal. July 1, 2008) (finding a substantial question was raised on appeal where there
 2 was “a paucity of authority on the issue of whether California has a ‘materially greater
 3 interest’ in deciding the question of unconscionability”); Steiner v. Apple Computer, Inc.,
 4 2008 WL 1925197, at *3 (N.D. Cal. Apr. 29, 2008)8 (finding that an appeal concerning
 5 the conscionability of a newly revised arbitration clause raised an important issue, while
 6 noting that the other three factors must strongly favor a stay); Ontiveros v. Zamora, 2013
 7 WL 1785891, at *3-4 (E.D. Cal. Apr. 25, 2013) (finding a fair prospect of success on
 8 appeal where plaintiff had a heavy burden to prove defendants waived of the right to
 9 arbitrate and where three Ninth Circuit decisions had held that a district court erred in
10 finding waiver after applying too lenient of a standard).
11         Literally none of Audible’s cited authorities concern the same issues that the Ninth
12 Circuit will address in Audible’s appeal. Audible’s motion shows that it wishes the Court
13 would have reconsidered its equitable estoppel analysis from its prior McKee ruling, Dkt.
14 37 at 22-23, but Audible chose not to raise equitable estoppel with respect to Weber.
15 Several of Audible’s citations address “agency” theories that Audible did not argue in
16 either of its motions and that do not apply in these circumstances in any event (i.e., neither
17 Audible nor Amazon acted as the other’s agent in connection with Weber’s Audible
18 membership). Citing inapplicable case law and new legal theories which the Ninth Circuit
19
20
21 clause, the arbitration clause did not apply to their claims. Id. The court rejected plaintiffs’
22 citation of cases where the arbitration clauses were limited in scope, and held that the
   broad scope of the arbitration clause had retroactive effect and covered claims that pre-
23 dated the 2005 engagement letter. Id. at 1224. This case does not stand for the proposition
   that a non-signatory company can rely on its parent company’s arbitration clause simply
24 because the parent company’s arbitration clause is drafted broadly.
25   8
     Since Steiner, the number of courts that have denied stays pending appeal has notably
26 surpassed  the number of courts that have granted stays pending appeal. See, e.g.,
   Mohamed v. Uber Techs., 115 F. Supp. 3d 1024, 1028 n.4 (N.D. Cal. July 22, 2015).
27 Audible is simply incorrect when it suggests that district courts “routinely” grant stays
   after denying a motion to compel arbitration. A large majority of district courts in recent
28 years have refused to stay cases after denying motions to compel arbitration.

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 1 will not address on appeal does not show that Audible has a substantial case that raises
 2 serious legal issues, or that Audible has even a fair prospect of success on appeal.
 3         Finally, Audible does not have a fair prospect of success because it never proved
 4 an agreement to arbitrate exists between Weber and Amazon. The existence of such an
 5 agreement is, of course, a prerequisite for Audible’s argument that it can compel
 6 arbitration based on Amazon’s arbitration clause. Audible’s failure to prove an agreement
 7 to arbitrate exists between Weber and Amazon is itself a sufficient basis for the Ninth
 8 Circuit to affirm the Court’s ruling. See United States v. Washington, 969 F.2d 752, 755
 9 (9th Cir. 1992) (noting the Ninth Circuit may affirm a district court’s order “on any basis
10 supported by the record even if the district court did not rely on that basis,” including
11 where the appellate review is de novo); Aronson v. Resolution Trust Corp., 38 F.3d 1110,
12 1114 (9th Cir. 1994) (Ninth Circuit can affirm on any ground supported by the record,
13 even if the district court relied on incorrect grounds of faulty reasoning).
14         Of course, Plaintiffs believe the Court’s reasoning in denying Audible’s motion is
15 sound and that the Court correctly applied the applicable laws. Even if the Court erred,
16 however, Audible still does not have a fair prospect of success on appeal.9
17         c.     Factor 2: Audible cannot show a probability that it will be “irreparably
18                injured” if Weber’s claims are not stayed.
19         If Audible manages to satisfy the lesser threshold on the first factor, it still cannot
20 show a probability of individualized irreparable injury that tilts sharply in its favor. Leiva-
21 Perez, 640 F.3d at 966; Cesca Therapeutics, 2017 WL 1174062, at *4 (noting harm must
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24   9
       Whether Weber agreed to Amazon’s COU and arbitration clause is hotly disputed issue
     in the related Weber Case. In that case, the Court found that the same evidence that
25   Audible relied on in this case did not meet its burden of proof. Weber Case Dkt. 35 at 12-
26   16. Amazon has since submitted multiple additional briefs, several new arguments, and
     substantial new evidence in an effort to meet its burden to show that Weber knowingly
27   agreed to arbitrate claims against Amazon. See Weber Case Dkts. 39, 41, 47, 53. Even if
     Amazon ultimately obtains a favorable ruling in the related Weber Case (it should not),
28   Audible cannot rely on such a ruling for purposes of this case and/or its appeal.

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 1 be “individualized and irreparable”). The “key word in this consideration is irreparable”
 2 because “injuries, however substantial, in terms of money, time and energy necessarily
 3 expended in the absence of a stay, are not enough.” Sampson v. Murray, 415 U.S. 61, 90
 4 (1974); Mohamed v. Uber Techs., 115 F. Supp. 3d 1024, 1032-33 (N.D. Cal. 2015)
 5 (“[N]early all courts ‘have concluded that incurring litigation expenses does not amount
 6 to an irreparable harm.’”) (citations omitted). This factor alone should also cause the
 7 Court to deny Audible’s motion.
 8         Audible argues, without pointing to any evidence or verifiable estimates, that it
 9 will be irreparably injured because it will lose the arbitration advantages of “speed and
10 economy.” Motion at 8. Audible also insists that it will incur significant litigation costs
11 that it would not incur if the Court’s decision is reversed on appeal because this case is a
12 proposed class action and any arbitration would be on an individual basis. Motion at 9.
13 Audible’s arguments do not satisfy its burden, are in no way individualized (they are the
14 same that any other class action defendant that lost a motion to compel arbitration would
15 make), and are wrong in any event.
16         The argument that additional litigation time and expense constitute irreparable
17 harm has been rejected by numerous courts in similar circumstances. See, e.g., Cesca
18 Therapeutics, 2017 WL 1174062, at *4 (citing multiple California district courts that
19 recently rejected the loss of financial resources and time spent on discovery as
20 constituting an irreparable injury and noting that “if financial burden was an irreparable
21 harm, then every interlocutory appeal of a denial to compel arbitration would
22 automatically be stayed, a finding which is contrary to Ninth Circuit precedent”); Morse,
23 2013 WL 123610, at *4 (resolving the same disputes in arbitration “is no more than a
24 possibility” which falls short of the requirement that irreparable harm be “probable”).
25         McKee’s claims will move forward in nationwide class discovery and be the basis
26 of a class certification hearing on December 3, 2018 regardless of whether Weber’s
27 claims are stayed. See Jimenez v. Menzies Aviation Inc., 2015 WL 5591722, at *3-4 (N.D.
28 Cal. Sept. 23, 2015) (noting that “[r]egardless of the outcome of its appeal, [defendant]

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 1 must continue to litigate the remaining claims” and that the “purported interests in speed
 2 and economy are likely further endangered by a stay in this litigation, which would cause
 3 a bifurcation in discovery and create the potential need to retake discovery following the
 4 Ninth Circuit’s decision”); Ambrosio v. Cogent Communications, Inc., 2016 WL
 5 7888024, at *3 (N.D. Cal. Sept. 21, 2016) (“[T]his litigation will move forward regardless
 6 of the outcome of [the] appeal, at least with respect to half of the class. As such, the cost
 7 of litigating this case is not likely to be less if the class size is later reduced.”). Thus,
 8 Audible will likely incur greater litigation time and expense if Weber’s claims are stayed
 9 and the Ninth Circuit affirms the Court’s ruling (the most likely result), because any
10 discovery and motions practice Audible may avoid during a stay (an argument Audible
11 has not substantiated with any proof) will simply be repeated in 2019 or 2020 and will
12 result in substantial duplication of effort for both sides and the Court.
13         Moreover, the idea that Weber’s involvement in this case will significantly
14 increase Audible’s discovery burdens and related costs is vastly overblown and is not
15 supported by any evidence. All Audible can point to is a single cause of action where
16 Weber, at the moment, is the sole proposed class representative. The discovery and
17 motions practice related to that one cause of action will have substantial overlap with the
18 discovery and motions practice for the other causes of action. Moreover, there is no
19 support for Audible’s argument that litigating the class certification aspects of Weber’s
20 non-gift certificate EFTA claim would increase the scope and complexity of this action
21 “far beyond” what would otherwise be at issue in this case. A stay of Weber’s claims
22 would simply result in two rounds of nationwide class discovery and two sets of motions
23 for class certification.
24         Even if Audible did prevail on appeal and it was allowed to try for a second time
25 to prove to this Court that Weber agreed to Amazon’s modified COU and arbitration
26 clause, Weber would oppose Audible’s renewed efforts to compel arbitration on remand.
27 If arbitration was ultimately ordered, Weber (i) is entitled to challenge the enforceability
28 of the arbitration clause in arbitration, and particularly whether the waiver of his right to

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 1 seek public injunctive relief renders the entire clause unenforceable, and (ii) is entitled to
 2 seek in arbitration public injunctive relief which would likely require broad discovery
 3 and motions practice. See, e.g., McGill v. Citibank, N.A., 2 Cal. 5th 945 (2017). Thus,
 4 Audible’s hope that any arbitration would be an inexpensive process limited solely to
 5 Weber’s individual circumstances is misguided. See also Guifu Li, 2011 WL 2293221,
 6 at *4 (noting discovery costs are not irreparable if the discovery can still be used in
 7 arbitration).
 8         Finally, the idea that Audible would lose out on the benefit of a speedy arbitration
 9 is wrong.10 See Soderstrom Decl. ¶ 2 (noting that the AAA recently took multiple months
10 simply to confirm a January 2018 filing of a consumer arbitration demand and no
11 arbitrator was appointed for nearly five months based on the AAA’s processing delays);
12 see also Munro v. Univ. of Southern California, 2017 WL 5592904, at *3-4 (C.D. Cal.
13 July 7, 2017) (noting denial of a stay cannot plausibly deprive the defendant of the
14 “speed” of arbitration because continued proceedings in court will have furthered the
15 resolution of the case no matter the outcome on appeal).
16         Audible cannot show that the second factor tilts sharply in favor of a stay. The
17 Court should therefore deny Audible’s motion based on this factor alone and it need not
18 consider the remaining two factors. See Morse, 2013 WL 123610, at *4.
19         d.      Factor 3: Weber and putative class members would be prejudiced if his
20                 claims were stayed pending appeal.
21         Even if Audible can meet its burden on the first two factors (it cannot), Audible
22 still must show that the third factor also tilts sharply in its favor. Audible cannot meet
23 this burden, however, because Weber and putative class members will suffer some
24 prejudice if his claims are stayed, even if the prejudice is not overwhelming.
25
26
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27   Somewhat ironically, individual arbitrations filed en masse following several recent
   pro-arbitration, pro-class action waiver decisions appear to have overwhelmed the AAA’s
28 ability to process and manage arbitration filings in a “speedy” manner.

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 1         If Weber’s claims are stayed pending appeal, there is a reasonable risk that relevant
 2 information and records will be lost or destroyed and memories will fade in the
 3 intervening 6-18 months. See Jimenez, 2015 WL 5591722, at *4. Audible has already
 4 showed in connection with multiple motions that it does not preserve all relevant
 5 documents or take screenshots of all relevant webpages, which it likes to revise without
 6 notice. Weber would also be forced to wait an extended period to make any progress in
 7 this action, and his day in court would be delayed until 2019 or even 2020 based simply
 8 on the unlikely chance that the Ninth Circuit reverses this Court’s order. See Ford v.
 9 Yasuda, 2015 WL 13424607, at *2 (C.D. Cal. July 1, 2015) (noting that delaying a
10 plaintiff’s day in court constitutes a substantial, if not overwhelming, injury to the
11 plaintiff) (citation omitted). Moreover, Audible’s propensity for engaging in self-help
12 tactics risks additional harm to Weber and absent putative class members and has already
13 been the basis for two motions for corrective action brought under Federal Rule of Civil
14 Procedure 23(d). Dkt. 72; Dkt. 116.
15         Audible cannot show that Weber and other interested parties (i.e., other Plaintiffs
16 and putative class members) will not suffer any prejudice if a stay is issued. Audible
17 therefore cannot meet its burden of showing that this factor tilts sharply in its favor. The
18 Court should deny Audible’s motion for this reason as well.
19         e.     Factor 4: Staying Weber’s claims pending appeal would be contrary to
20                the public interest.
21         Audible also has the burden to show that the public interest would be served by
22 staying Weber’s claims pending appeal. Audible cannot meet its burden. In fact, in these
23 circumstances, a stay would harm the public interest in multiple ways. This factor weighs
24 against a stay.
25         First, many of Weber’s claims sound in fraud and seek representative and public
26 injunctive relief based on ongoing violations, including violations of the EFTA where
27 Weber is, at the moment, the only proposed class representative seeking to stop Audible
28 from making automatic electronic fund transfers without explicit written disclosures and

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 1 informed consent. See Bradberry v. T-Mobile USA, Inc., 2007 WL 2221076, at *4 (N.D.
 2 Cal. Aug. 2, 2007) (noting that the public interest does not favor a stay where ongoing
 3 violations are at issue).
 4         Second, a stay would not conserve judicial resources because the most likely result
 5 would be that the Ninth Circuit affirms the Court’s ruling and additional nationwide class
 6 discovery would take place in 2019 followed by a second motion for class certification
 7 in 2019 or 2020. Denying a stay would conserve more judicial resources than would
 8 granting a stay because discovery and motions practice would be consolidated and
 9 streamlined if Weber’s claims move forward with the rest of the case. See Jimenez, 2015
10 WL 5591722, at *4 (noting that there is no blanket federal policy requiring a stay in order
11 to potentially conserve judicial resources, and other interests such as enforcement of laws
12 and preventing ongoing violations weighed in favor of denying a stay).
13         Audible’s generic references to the law favoring arbitration (where an arbitration
14 agreement actually exists) and conservation of judicial resources do not apply here. The
15 public interest does not favor staying Weber’s claims pending appeal.
16                                      CONCLUSION
17         Audible cannot meet its burden to show that a stay is warranted in these
18 circumstances. Accordingly, based on Audible’s minimal chance of prevailing on appeal
19 and its weak showing on each of the other factors, the Court should deny Audible’s
20 motion to stay Weber’s claims pending appeal.
21
22 Dated: June 25, 2018                    SODERSTROM LAW PC
23                                         By: /s/ Jamin S. Soderstrom
24                                             Jamin S. Soderstrom
25                                         Counsel for Plaintiffs and the Proposed Class
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1                             CERTIFICATE OF SERVICE
2        The undersigned certifies that on June 25, 2018 I caused the foregoing document
3 to be served on all counsel of record by the Court’s CM/ECF electronic filing system.
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5                                        By: /s/ Jamin S. Soderstrom
                                             Jamin S. Soderstrom
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        PLAINTIFF ERIC WEBER’S OPPOSITION TO AUDIBLE’S MOTION TO STAY AS TO ERIC WEBER
